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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF OHIO
                              EASTERN DIVISION


UNITED STATES OF AMERICA,                      )   CASE NO.: 1:15-CV-01046
                                               )
              Plaintiff,                       )
                                               )   JUDGE SOLOMON OLIVER, JR.
       vs.                                     )
                                               )
                                               )   CITY OF CLEVELAND’S NOTICE OF
CITY OF CLEVELAND,                             )   THE TIMELINE FOR REVIEW AND
                                               )   REVISION OF CDP’S CRISIS INTER-
              Defendant.                       )   VENTION POLICIES



       The City files this Notice to inform the Court of the timeline associated with a

current review being conducted of the Cleveland Division of Police’s (“CDP”) Crisis

Intervention Team (“CIT”) policies. CDP’s established CIT policies were previously

approved by the Court, with the present review addressing the following General Police

Orders (“GPO”): GPO 5.11.01 CIT Definitions, GPO 5.11.02 CIT Program, and GPO

5.11.03 CIT Response.

   The CIT Working Group, consisting of representatives from CDP, Mental Health

Response Advisory Committee (“MHRAC”), Department Of Justice (“DOJ”) and the

Monitoring Team have established that CDP would work with MHRAC to complete the

CIT policy review by June 30th. The scheduled time allows for revised policy drafts to be

developed with the assistance of an MHRAC working group sub-committee, followed by

further separate reviews during the drafting process to be undertaken by the MHRAC

Training Committee and the MHRAC as a whole. Following this initial review process
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with MHRAC, CDP will be in a position to submit draft revised CIT policies to DOJ and

the Monitoring Team for final review and comment.

       The working timeline developed to complete the initial CDP/MHRAC work on

developing the final drafts of amended CIT policies for review and discussion with the

Monitor Team and DOJ includes the following:

   1. The initial review by the MHRAC sub-committee working group has an
       assigned completion date of May 13, 2022.

   2. Following this review, CDP will then review the policy recommendations and
       will prepare draft revised policies for further review and discussion.

   3. The revised policy drafts are to be returned by CDP to the MHRAC Training
       Committee for review on or before June 3, 2022, with the Committee’s
       response and recommendations to the CDP to be received by June 10, 2022.

   4. CDP will review the MHRAC Training Committees’ comments and further
       recommendations to the policy drafts and will prepare revised drafts of the
       CIT policies by June 16, 2022.

   5. CDP’s revised draft of the CIT policies will be sent to the full MHRAC for
       further     review   and   comment,    with   any    further   policy    revision
       recommendations to be provided to CDP by June 24, 2022.

   6. Following receipt and review of any additional recommendations by the full
       MHRAC, CDP will finalize the CIT policies and provide them to the
       Monitoring Team and Department of Justice for review and comment on June
       27, 2022.

Following DOJ and Monitoring Team review and the incorporation of any additional

agreed upon changes, CDP will finalize and submit the revised CIT policies to the



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Monitor for filing with the Court. Following Court review and approval, the revised CIT

policies as approved by the Court will be disseminated to the Division of Police and will

replace the current above referenced CIT General Police Orders.

                                            Respectfully submitted,

                                            Mark Griffin (0064141)
                                            Director of Law

                                     By:    /s/ Gary S. Singletary
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                             CERTIFICATE OF SERVICE


       The undersigned certifies that the City of Cleveland’s Notice of the Timeline for

Review and Revision of CDP’s Crisis Intervention Policies was filed electronically on

May 12, 2022. Notice of this filing will be sent to all parties by operation of the Court’s

electronic filing system. Parties may access this filing through the Court’s system.



                                              /s/ Gary S. Singletary
                                              Gary S. Singletary (0037329)
                                              Counsel for the City of Cleveland




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